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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                  ORDER

        On March 27, 2019, the Court ordered the parties to provide, by April 5, 2019, a joint update re-

porting the progress made in scheduling the deposition of Alexander Lazarenko, including the amount of

time reasonably likely for a decision to be made on his application for a visa for travel to the United States.

ECF No. 1135. The Court has received the parties’ submission, in which the government lays out the steps

required for a Ukrainian citizen to procure such a visa and counsel for Alexander Lazarenko indicates that

“[d]ue to language and logistical barriers” she cannot even report that Alexander Lazarenko has filed the

initial application for a visa but expects that she will be able to provide an update at the conference to be

held on April 9, 2019. ECF No. 1148.

        The parties’ submission does not comply with the Court’s Order of March 27, 2019.

        It is therefore

        ORDERED that, at the conference on April 9, 2019, the parties shall provide a status update on

the progress of Alexander Lazarenko's visa application, including (1) whether he has filed the initial appli-

cation, (2) whether he has paid the required fee, and (3) whether an interview has been scheduled or com-

pleted. It is further
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        ORDERED that, prior to the April 9, 2019 conference, the government, with the cooperation of

Alexander Lazarenko, shall take steps to determine the approximate amount of time that it will take for

Alexander Lazarenko’s visa application to be acted on or, if it is impracticable to estimate that amount of

time because, for example, the application has not yet been filed, shall be prepared to make a representation

to the Court as to the average amount of time it takes after it is filed for the government to act on an

application from a Ukrainian citizen for a visa for travel to the United States.



        SO ORDERED.
                                                                     Digitally signed by G.
                                                                     Michael Harvey
                                                                     Date: 2019.04.06
Dated: April 6, 2019                               ___________________________________
                                                                     09:38:50 -04'00'
                                                   G. MICHAEL HARVEY
                                                   UNITED STATES MAGISTRATE JUDGE




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